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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

THE HURRY FAMILY REVOCABLE
TRUST; SCOTTSDALE CAPITAL
ADVISORS CORPORATION and
ALPINE SECURITIES CORPORATION,
                                                            CASE NO.: 8:18-cv-02869
       Plaintiffs,

vs.

CHRISTOPHER FRANKEL,

      Defendant.
____________________________________/


         SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiffs, the Hurry Family Revocable Trust, Scottsdale Capital Advisors and Alpine

Securities Corporation, (collectively “Plaintiffs”), sue Defendant, Christopher Frankel

(“Defendant”), and allege:

                                 NATURE OF THIS ACTION

       1.      This action arises from Defendant’s unlawful use of confidential information

obtained from Plaintiffs to destroy their businesses, abscond with their clients, and unfairly

compete with Plaintiffs.

                           PARTIES, JURISDICTION, AND VENUE

       2.      This is an action for damages in excess of $75,000.00, exclusive of interest, costs

and attorneys’ fees.

       3.      Plaintiff, the Hurry Family Revocable Trust (the “Hurry Trust”), is a Nevada

trust, and its trustees are permanent citizens of Nevada and Arizona.




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        4.      Plaintiff Scottsdale Capital Advisors Corporation (“Scottsdale”) is a corporation

organized and existing under the laws of the State of Arizona, with its principal place of business

in Maricopa County, Arizona.

        5.      Plaintiff Alpine Securities Corporation (“Alpine”) is a corporation organized and

existing under the laws of the State of Utah, with its principal place of business in Salt Lake

County, Utah.

        6.      Defendant is an individual who resides in Hillsborough County, Florida.

        7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332(a)(1).

        8.      This Court has personal jurisdiction over Defendant because Defendant resides in

Florida, is engaged in business in the state, and committed many of the tortious acts alleged

herein in the state.

        9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because

Defendant resides in this District, and a substantial part of the events giving rise to the claims

herein occurred in this district.

                                    GENERAL ALLEGATIONS

        10.     Scottsdale and Alpine are each involved in the broker-dealer business. Scottsdale

is a full service broker-dealer focused on serving the OTC (over the counter) securities market.

Alpine is a registered broker-dealer that is an industry leader for clearing OTC stock. Scottsdale

and Alpine were previously indirectly owned and/or controlled by the Hurry Trust.

        11.     In 2015, Plaintiffs considered hiring Defendant to help run their broker-dealer

businesses. They engaged in discussions with him about the businesses.

        12.     Plaintiffs were aware that these discussions would expose Defendant to, and

entrust him with, information that is commercially valuable to Plaintiffs and not generally known



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or readily ascertainable in the broker-dealer securities industry or the public at large, including

inter alia, Plaintiffs’ business practices, financial relationships and terms of those relationships,

client lists, pricing information, and private financial information of Plaintiffs and their clients.

In order to protect this information, Plaintiffs (and others) required Defendant to enter into a

written non-disclosure agreement (the “Original NDA”) that would limit his use of Plaintiffs’

numerous trade secrets and confidential information.             Attached hereto as Exhibit 1 and

incorporated by this reference is a true and correct copy of the Original NDA.

        13.     According to the Original NDA, it “shall be governed and construed in

accordance with the laws applicable tin the State of Arizona.”

        14.     As acknowledged in the Original NDA, Defendant was exposed to information

that is the “sole property” of the Plaintiffs “and highly confidential in nature.”

        15.     According to the Original NDA: “Confidential Information” means any data or

information that is proprietary to the Plaintiffs and not generally known to the public, whether in

tangible or intangible form, whenever and however disclosed.”

        16.     Per the Original NDA, Defendant agreed that “[w]ithin ten business days of

receipt of the [Plaintiffs’] written request, the [Defendant] will return to the [Plaintiffs] all

documents, records and copies thereof containing Confidential Information.”

        17.     Plaintiffs ultimately hired Defendant. From approximately July 2015 through

July 2018, Defendant served as CEO of Alpine, and from July 2018 through September 2018

was a consultant to Alpine.

        18.     On July 1, 2015, Alpine, Scottsdale, and Defendant entered into a second

nondisclosure agreement entitled the “Employee Nondisclosure & Computer Use Agreement”

(“Employee NDA”), which superseded the Original NDA with regard to protecting Alpine and



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Scottsdale’s numerous trade secrets and confidential information. Attached hereto as Exhibit 2

and incorporated by this reference is the Employee NDA.

       19.     Alpine and Scottsdale require all of their employees to enter into similar

employee nondisclosure agreements to limit the use and exposure of their confidential

information.

       20.     According to the Employee NDA, it “shall be governed in accordance with the

laws of the State of Arizona.”

       21.     Per paragraph 2 of the Employee NDA, “Employee shall keep Company’s

Confidential Information, whether or not prepared or developed by Employee, in the strictest

confidence. Employee will not disclose such information to anyone outside Company without

Company’s prior written consent. Nor will Employee make use of any Confidential Information

for Employee's own purposes or the benefit of anyone other than Company.”

       22.     Under the Employee NDA, Confidential Information is defined as:

       (a) technical information concerning Company's products and services, including
       product know-how, formulas, designs, devices, diagrams, software code, test
       results, processes, inventions, research projects and product development,
       technical memoranda and correspondence; (b) information concerning Company's
       business, including cost information, profits, sales information, accounting and
       unpublished financial information, business plans, markets and marketing
       methods, customer lists and customer information, purchasing techniques,
       supplier lists and supplier information and advertising strategies; (c) information
       concerning Company's employees, including salaries, strengths, weaknesses and
       skills; (d) information submitted by Company's customers, suppliers, employees,
       consultants or co-venture partners with Company for study, evaluation or use; and
       (e) any other information not generally known to the public which, if misused or
       disclosed, could reasonably be expected to adversely affect Company's business.

       23.     Paragraph 4 of the Employee NDA provides: “When Employee's employment

with Company ends, for whatever reason, Employee will promptly deliver to Company all




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originals and copies of all documents, records, software programs, media and other materials

containing any Confidential Information.”

       24.      Beginning in or about June 2015, and continuing through September 2018,

Defendant received Confidential Information from each of Plaintiffs, including inter alia, the

Plaintiffs’ business practices, financial relationships and terms of those relationships, client lists,

pricing information, and private financial information of the Plaintiffs and their clients.

       25.      Unbeknownst to Plaintiffs, and in violation of the Original NDA and the

Employee NDA, on August 15, 2016, August 28, 2016, September 9, 2016, October 6, 2016,

October 13, 2016, October 14, 2016, November 8, 2016, January 3, 2017, April 12, 2017, May 2,

2017, July 13, 2017, August 31, 2017, July 31, 2018, August 8, 2018, September 18, 2018,

October 7, 2018, Defendant forwarded emails containing Confidential Information from his

employee email account to his personal email account.

       26.      Defendant’s employment was terminated in September 2018.

       27.      On November 9, 2018, Plaintiffs sent a letter to Defendant, requesting the return

of all documents, records, and/or copies thereof in his possession, custody, or control that contain

any Confidential Information.

       28.      In violation of the Original NDA and the Employee NDA, Defendant did not

return numerous documents containing Confidential Information to Plaintiffs.

       29.      Rather, after his termination, Defendant continued to access his work email and

forward himself additional Confidential Information, including three on October 7, 2018.

       30.      Plaintiffs are informed and believe that after leaving Alpine, if not earlier,

Defendant knowingly and willfully used Confidential Information obtained from Plaintiffs for




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his own benefit. Specifically, Defendant used Plaintiffs’ Confidential Information to solicit

capital and establish financial relations so that it could make a bid for a broker-dealer in Chicago.

           31.   Defendant further engaged in unfair competition against Plaintiffs by using the

Plaintiffs’ Confidential Information to create a broker-dealer that could provide fees and services

competitive to Alpine and then using Plaintiffs’ Confidential Information to solicit their top

clients.

                             COUNT I: BREACH OF CONTRACT

           32.   Plaintiffs incorporate by reference all of the preceding paragraphs as though fully

restated herein.

           33.   The Original NDA, to which Defendant agreed to be bound, constitutes a valid

and enforceable contract between the Hurry Trust, on the one hand, and Defendant, on the other

hand.

           34.   On October 7, 2018, Defendant sent an email from his Alpine email account to his

personal email account that contained The First Amendment to the Hurry Family Revocable

Trust, a Certificate of Trust regarding the Hurry Trust, and portions of the Hurry Trust document

(collectively, “Confidential Trust Information”). The foregoing Confidential Trust Information

constitutes Confidential Information under paragraph 1(a) of the Original NDA in that such

information is proprietary to the Hurry Trust and not generally known to the public.

           35.   Per paragraph 5 of the Original NDA, on November 9, 2018, the Hurry Trust,

through counsel, sent a written request to Defendant demanding the return of all documents,

records and copies thereof that contain any Confidential Information, which would include the

Confidential Trust Information.




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       36.      In breach of paragraph 5 of the Original NDA, Defendant failed and refused to

return to the Hurry Trust the Confidential Trust Information within ten (10) business days of the

Hurry Trust’s demand.

       37.      As a direct and proximate result of Defendant’s breaches of the Original NDA,

the Hurry Trust has suffered and will continue to suffer irreparable harm and economic damages.

       38.      Moreover, it was foreseeable that the Hurry Trust would suffer damages if

Defendant withheld its Confidential Information, despite the Hurry Trust’s request for its return.

       WHEREFORE, Plaintiff, the Hurry Family Revocable Trust, demands judgment against

Defendant, Christopher Frankel, for damages, including, but not limited to, actual damages,

special damages, injunctive relief pursuant to the Original NDA, reasonable attorneys’ fees

pursuant to Arizona Revised Statute § 12-341.01, interest, costs, and such further relief as the

Court deems just and proper.

                            COUNT II: BREACH OF CONTRACT

       39.      Plaintiffs incorporate by reference all of the preceding paragraphs as though fully

restated herein.

       40.      The Employee NDA, to which Defendant agreed to be bound, constitutes a valid

and enforceable contract between Alpine and Scottsdale, on the one hand, and Defendant, on the

other hand.

       41.      Notwithstanding Defendant’s obligations under the Employee NDA, Alpine and

Scottsdale are informed and believe that he knowingly disclosed the following Confidential

Information to third parties in breach of paragraph 2 of the Employee NDA:

           a.   Alpine’s annual audit report for the fiscal year ending September 20, 2016 that

          included a statement of Alpine’s financial condition, statement of Alpine’s income,



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          statement of changes in stockholders’ equity, statement of Alpine’s cash flow, notes

          on Alpine’s financial statements, computation of Alpine’s net capital, computation for

          determination of customer reserve requirements, computation for determination of

          PAB account reserve requirements;

          b.   Statements of accounts for Alpine and Scottsdale on April 10, 2017, including

          number of accounts, market value and cash/money market;

          c.   A May 7, 2018 email from an attorney for Alpine that included a term sheet for a

          multi-million dollar secured revolving credit facility;

          d.   A July 31, 2018 internal email regarding Alpine’s fee schedule that included a

          listing of Alpine’s top-50 accounts by commission amount;

          e.   An August 21, 2017 email from the general counsel of Scottsdale that included a

          term sheet for a loans to Alpine to fund National Securities Clearing Corporation calls;

          f.   An internal audit report dated May 1, 2016 prepared by Alpine’s chief compliance

          officer.

       42.     In addition, Defendant breached paragraph 2 of the Employee NDA by using the

following Confidential Information of Alpine and Scottsdale for his own benefit:

          a.   Alpine’s annual audit report for the fiscal year ending September 20, 2016 that

          included a statement of Alpine’s financial condition, statement of Alpine’s income,

          statement of changes in stockholders’ equity, statement of Alpine’s cash flow, notes

          on Alpine’s financial statements, computation of Alpine’s net capital, computation for

          determination of customer reserve requirements, computation for determination of

          PAB account reserve requirements;

          b.   Statements of accounts for Alpine and Scottsdale on April 10, 2017, including



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          number of accounts, market value and cash/money market;

          c.   Alpine’s blanket fidelity bond for fiscal year ending November 1, 2017;

          d.   A May 7, 2018 email from an attorney for Alpine that included a term sheet for a

          multi-million dollar secured revolving credit facility;

          e.   An April 13, 2018 email from the general counsel for Alpine with a draft

          employment agreement (that Defendant requested for use as a template);

          f.   A July 31, 2018 internal email regarding Alpine’s fee schedule that included a

          listing of Alpine’s top-50 accounts by commission amount;

          g.   An August 21, 2017 email from the general counsel of Scottsdale that included a

          term sheet for a loans to Alpine to fund National Securities Clearing Corporation calls;

          h.   A July 12, 2017 email from a consultant for Alpine that included the consulting

          agreement between consultant and Alpine;

          i.   An internal audit report dated May 1, 2016 prepared by Alpine’s chief compliance

          officer;

          j.   Internal emails from September and October 2016 that included Financial and

          Operations Principal’s report dated April 18, 2016;

       43.     Defendant also breached paragraph 3 of the Employee NDA by failing to

promptly return all documents containing Confidential Information to Alpine and Scottsdale

upon his termination, including but limited to the following documents:

          a.   Alpine’s annual audit report for the fiscal year ending September 20, 2016 that

          included a statement of Alpine’s financial condition, statement of Alpine’s income,

          statement of changes in stockholders’ equity, statement of Alpine’s cash flow, notes

          on Alpine’s financial statements, computation of Alpine’s net capital, computation for



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         determination of customer reserve requirements, computation for determination of

         PAB account reserve requirements;

         b.   Statements of accounts for Alpine and Scottsdale on April 10, 2017, including

         number of accounts, market value and cash/money market;

         c.   Alpine’s blanket fidelity bond for fiscal year ending November 1, 2017;

         d.   A May 7, 2018 email from an attorney for Alpine that included a term sheet for a

         multi-million dollar secured revolving credit facility;

         e.   An April 13, 2018 email from the general counsel for Alpine with a draft

         employment agreement (that Defendant requested for use as a template);

         f.   A July 31, 2018 internal email regarding Alpine’s fee schedule that included a

         listing of Alpine’s top-50 accounts by commission amount;

         g.   An August 21, 2017 email from the general counsel of Scottsdale that included a

         term sheet for a loans to Alpine to fund National Securities Clearing Corporation calls;

         h.   A July 12, 2017 email from a consultant for Alpine that included the consulting

         agreement between consultant and Alpine;

         i.   A confidential letter dated February 22, 2017 from FINRA to Alpine with a

         request for information;

         j.   An April 12, 2017 email from counsel for Alpine that contained a consultant

         agreement with the law firm to support its representation of Alpine and Scottsdale;

         k.   January 3, 2017 email from FINRA to Alpine regarding due diligence documents;

         l.   Internal email correspondence from September 2016 and October 2016 regarding

         Alpine and Scottsdale’s proposed fee schedule;

         m. An internal audit report dated May 1, 2016 prepared by Alpine’s chief compliance



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             officer;

             n.    Internal emails from September and October 2016 that included Financial and

             Operations Principal’s report dated April 18, 2016;

             o.    Internal emails from August 2016 that included drafts of Alpine’s correspondent

             fees and customer fee schedules;

             p.    An August 19, 2016 email from FINRA regarding certain proposed changes in

             Scottsdale’s business operations.

           44.     As a direct and proximate result of Defendant’s breaches of the Employee NDA,

 Alpine and Scottsdale have suffered and will continue to suffer irreparable harm and economic

 damages.

           45.     Moreover, it was foreseeable that Alpine and Scottsdale would suffer damages if

 Defendant disclosed Confidential Information to third parties, and used Confidential Information

 for his own benefit.

           WHEREFORE, Plaintiffs, Scottsdale Capital Advisors and Alpine Securities Corporation

 demand judgment against Defendant, Christopher Frankel, for damages, including, but not

 limited to, actual damages, special damages, injunctive relief pursuant to the Employee

 Nondisclosure Agreement, reasonable attorneys’ fees and costs pursuant to paragraph 7(e) of the

 Employee Nondisclosure Agreement, interest, and such further relief as the Court deems just and

 proper.

                  COUNT III: VIOLATION OF DEFEND TRADE SECRETS ACT

           46.     Plaintiffs incorporate by reference all of the preceding paragraphs as though fully

 restated herein.




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        47.      During the course of his relationship with Alpine and Scottsdale, Defendant had

 access to confidential financial, business, and economic information of independent economic

 value, including inter alia:

            a.   Alpine’s annual audit report for the fiscal year ending September 20, 2016 that

           included a statement of Alpine’s financial condition, statement of Alpine’s income,

           statement of changes in stockholders’ equity, statement of Alpine’s cash flow, notes

           on Alpine’s financial statements, computation of Alpine’s net capital, computation for

           determination of customer reserve requirements, computation for determination of

           PAB account reserve requirements;

            b.   Statements of accounts for Alpine and Scottsdale on April 10, 2017, including

           number of accounts, market value and cash/money market;

            c.   Alpine’s blanket fidelity bond for fiscal year ending November 1, 2017;

            d.   A May 7, 2018 email from an attorney for Alpine that included a term sheet for a

           multi-million dollar secured revolving credit facility;

            e.   A July 31, 2018 internal email regarding Alpine’s fee schedule that included a

           listing of Alpine’s top-50 accounts by commission amount;

            f.   An August 21, 2017 email from the general counsel of Scottsdale that included a

           term sheet for a loans to Alpine to fund National Securities Clearing Corporation calls;

            g.   An internal audit report dated May 1, 2016 prepared by Alpine’s chief compliance

           officer;

            h.   Internal emails from September and October 2016 that included Financial and

           Operations Principal’s report dated April 18, 2016 (collectively, the “Trade Secrets”).




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        48.     Alpine and Scottsdale took reasonable measures to safeguard their Trade Secrets

 by, among other things, requiring employees and consultants to enter into Employee

 Nondisclosure Agreements, restricting access to the Trade Secrets, and taking other security

 measures to protect their confidentiality.

        49.     Alpine and Scottsdale derive independent economic value, actual and potential,

 from their Trade Secrets not being generally known to and not being readily ascertainable by

 proper means by other persons who can obtain economic value from their disclosure or use.

        50.     Defendant gained access to Alpine’s and Scottsdale’s Trade Secrets under

 circumstances giving rise to a duty to maintain their secrecy and limit their use.

        51.     Without Alpine’s or Scottsdale’s express or implied consent, Defendant

 misappropriated, disclosed, and used the Trade Secrets for his own benefit. Specifically, Alpine

 and Scottsdale are informed and believe that Defendant used (1) Alpine’s annual audit report for

 the fiscal year ending September 20, 2016 that included a statement of Alpine’s financial

 condition, statement of Alpine’s income, statement of changes in stockholders’ equity, statement

 of Alpine’s cash flow, notes on Alpine’s financial statements, computation of Alpine’s net

 capital, computation for determination of customer reserve requirements, computation for

 determination of PAB account reserve requirements; (2) statements of accounts for Alpine and

 Scottsdale on April 10, 2017, including number of accounts, market value and cash/money

 market; (3) Alpine’s blanket fidelity bond for fiscal year ending November 1, 2017; (4) a May 7,

 2018 email from an attorney for Alpine that included a term sheet for a multi-million dollar

 secured revolving credit facility; (5) a July 31, 2018 internal email regarding Alpine’s fee

 schedule that included a listing of Alpine’s top-50 accounts by commission amount; (6) an

 August 21, 2017 email from the general counsel of Scottsdale that included a term sheet for a



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 loans to Alpine to fund National Securities Clearing Corporation calls; (7) an internal audit

 report dated May 1, 2016 prepared by Alpine’s chief compliance officer; and (8) a Financial and

 Operations Principal’s report dated April 18, 2016 to solicit capital and establish financial

 relations so that he could make a bid for a broker-dealer in Chicago.

           52.    At the time of Defendant’s misappropriation, disclosure, and use of Alpine’s and

 Scottsdale’s Trade Secrets, Defendant knew or had reason to know that his knowledge of the

 Trade Secrets was acquired under circumstances giving rise to a duty to maintain their secrecy

 and limit their use.

           53.    As a direct and proximate result of Defendant’s misappropriation, Alpine and

 Scottsdale suffered and will continue to suffer economic damages.

           54.    Pursuant to 18 U.S.C. § 1836, Alpine and Scottsdale are entitled to an injunction

 to prevent the actual or threatened misappropriation of their Trade Secrets and/or requiring

 affirmative actions to protect the Trade Secrets, an award of damages for the actual loss caused

 by Defendant’s misappropriation, damages for unjust enrichment caused by the

 misappropriation, and/or a reasonable royalty, as well as attorneys’ fees and costs.

           55.    Because Defendant willfully and maliciously misappropriated Alpine and

 Scottsdale’s Trade Secrets, Plaintiffs also are entitled to exemplary damages.

           WHEREFORE, Plaintiffs, Scottsdale Capital Advisors and Alpine Securities Corporation

 demand judgment against Defendant, Christopher Frankel, for injunctive relief, compensation for

 actual damages and unjust enrichment, imposition of a reasonable royalty, exemplary damages

 pursuant to 18 U.S.C. § 1836(b)(3)(C), reasonable attorneys’ fees pursuant to 18 U.S.C. §

 1836(b)(3)(D), interest, costs, and such other and further relief as the Court deems just and

 proper.



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        COUNT IV: VIOLATION OF FLORIDA UNIFORM TRADE SECRET ACT

         56.     Plaintiffs incorporate by reference all of the preceding paragraphs as though fully

 restated herein.

         57.     During the course of his relationship with Alpine and Scottsdale, Defendant had

 access to Alpine’s and Scottsdale’s Trade Secrets.

         58.     Alpine and Scottsdale lawfully owned the Trade Secrets.

         59.     Alpine and Scottsdale took reasonable measures to safeguard their Trade Secrets

 by, among other things, requiring employees and consultants to enter into nondisclosure

 agreements, restricting access to the Trade Secrets, and taking other security measures to protect

 their confidentiality.

         60.     Alpine and Scottsdale derive independent economic value, actual and potential,

 from their Trade Secrets not being generally known to and not being readily ascertainable by

 proper means by other persons who can obtain economic value from their disclosure or use.

         61.     Defendant gained access to Alpine’s and Scottsdale’s Trade Secrets under

 circumstances giving rise to a duty to maintain their secrecy and limit their use.

         62.     Without Plaintiffs’ express or implied consent, Defendant misappropriated,

 disclosed, and used the Trade Secrets for his own benefit and to unfairly compete against Alpine

 and Scottsdale. Specifically, Alpine and Scottsdale are informed and believe that Defendant used

 (1) Alpine’s annual audit report for the fiscal year ending September 20, 2016 that included a

 statement of Alpine’s financial condition, statement of Alpine’s income, statement of changes in

 stockholders’ equity, statement of Alpine’s cash flow, notes on Alpine’s financial statements,

 computation of Alpine’s net capital, computation for determination of customer reserve

 requirements, computation for determination of PAB account reserve requirements; (2)



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 statements of accounts for Alpine and Scottsdale on April 10, 2017, including number of

 accounts, market value and cash/money market; (3) Alpine’s blanket fidelity bond for fiscal year

 ending November 1, 2017; (4) a May 7, 2018 email from an attorney for Alpine that included a

 term sheet for a multi-million dollar secured revolving credit facility; (5) a July 31, 2018 internal

 email regarding Alpine’s fee schedule that included a listing of Alpine’s top-50 accounts by

 commission amount; (6) an August 21, 2017 email from the general counsel of Scottsdale that

 included a term sheet for a loans to Alpine to fund National Securities Clearing Corporation

 calls; (7) an internal audit report dated May 1, 2016 prepared by Alpine’s chief compliance

 officer; and (8) a Financial and Operations Principal’s report dated April 18, 2016 to solicit

 capital and establish financial relations so that he could make a bid for a broker-dealer in

 Chicago.

        63.     Defendant is a competitor of Alpine and Scottsdale for a common pool of

 customers and clients, financial institutions, and investors in the broker-dealer business.

        64.     As a direct and proximate result of Defendant’s unauthorized misappropriation

 and use of the Alpine’s and Scottsdale’s Trade Secrets, Alpine and Scottsdale, and each of them,

 have suffered and will continue to suffer irreparable harm and economic damages.

        WHEREFORE, Plaintiffs, Scottsdale Capital               Advisors and Alpine Securities

 Corporation, demand judgment against Defendant, Christopher Frankel, for injunctive relief,

 compensation for all actual damages and unjust enrichment, exemplary damages, reasonable

 attorneys’ fees because Defendant’s misappropriation and wrongful use of the Hurry Parties’

 trade secrets was willful and malicious, interest, costs, and such further relief as the Court deems

 just and proper.




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                                  DEMAND FOR JURY TRIAL

        Plaintiffs demand a jury trial on issues so triable.



 Dated this 10th day of May 2019

                                               /s/ Jordan Susman_____
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                                               Admitted Pro Hac Vice
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                              NON DISCLOSURE AND CONFIDENTIALITY AGREEMENT


     This NON-DISCLOSURE AND CONFIDENTIALITY AQRFF.MF.NT ahe "Agreement") is made as of
                   . 201 S. bv                 IjC <t-                   1            (the "Recipient")
      and SCOTTSDALE CAPITAL ADVISORS CORPORATION, an Arizona corporation, Alpine Securities Corporation
      an Utah corporation. Cayman Securities Clearing and Trading LTD a Cayman Limited Company and any associated
      company of the Hurry Family Revocable Trust (the "Discloser").

                                                             RECITALS:


      WHEREAS, Recipient and Disclosure have entered into discussions to form a business or employment relationship in
      connection with the Disclosure's business; and

      WHEREAS, in connection with such discussions, the Discloser will communicate to the Recipient and grant the
      Recipient access to Confidential Information (as defined below) pertaining to Discloser's business, which Confidential
      Information the Recipient recognizes to be the sole property of the Discloser and highly confidential in nature and the
      transmission of w hich is granted in consideration of the Recipient's acceptance to sign this Agreement.

      NOW, THEREFORE, THE PARTIES HERETO HEREBY AGREE AS FOLLOWS:

      1.        CONFIDENTIAL INFORMATION DEFINITION


      (a)      For purposes of this Agreement, "Confidential Information" means any data or information that is
      proprietary to the Discloser and not generally known to the public, whether in tangible or intangible form, whenever
      and however disclosed, including, but not limited to: (i) any marketing strategies, plans, financial information, or
      projections, operations, sales estimates, business plans and performance results relating to the past, present or future
      business activities of such party , its affiliates, subsidiaries and affiliated companies; (ii) plans for products or
      services, (iii) customer lists and account information; (iv) any scientific or technical information, invention, design,
      process, procedure, formula, improvement, technology or method; (v) any concepts, reports, data, know-how, works-
      in-progrcss, designs, development tools, specifications, computer software, source code, object code, flow charts,
      databases, inventions, information and trade secrets; and (vi) any other information that should reasonably be
      recognized as confidential information of the Discloser. Confidential Information need not be novel, unique,
      patentable, copyrightable or constitute a trade secret in order to be designated Confidential Information. The
      Recipient acknowledges that the Confidential Information is proprietary to the Discloser, has been developed and
      obtained through great efforts by the Discloser and that Discloser regards all of its Confidential Information as trade
      secrets under the Arizona Trade Secrets Act, as amended (A.R.S. §44-401 set scq.).

      (b)      Notwithstanding anything in the foregoing to the contrary. Confidential Information shall not include
      information which: (i) was known by the Recipient prior to receiving the Confidential Information from the Discloser; (b)
      becomes rightfully known to the Recipient from a third-party source not known (after diligent inquiry ) by the Recipient
      to be under an obligation to Discloser to maintain confidentiality; (c) is or becomes publicly available through no fault of
      or failure to act by the Recipient in breach of this Agreement; (d) is required to be disclosed in a judicial or
      administrative proceeding, or is otherwise requested or required to be disclosed by law or regulation, although the
      requirements of paragraph 4 hereof shall apply prior to any disclosure being made; and (e) is or has been independently
      developed by employees, consultants or agents of the Recipient without violation of the terms of this Agreement or
      reference or access to any Confidential Information.


      2.        NON-DISCLOSURE AND NON-USE OF CONFIDENTIAL INFORMATION.


      (a)       With respect to Confidential Information obtained by Recipient, Recipient (i) will not, and will not permit its
      officers, directors, employees, agents, independent contractors, advisors and affi liates (the "Representatives") to disclose,
      publish or disseminate Confidential Information to anyone other than its employees and agents on a need-to-know basis;
      (ii) advise its Representatives of the proprietary nature of the Confidential Information and ofthe obligations set forth in
      this Agreement; and require such Representatives to keep the Confidential Information confidential; (iii) shall keep all
      Confidential Information strictly confidential by using a reasonable degree of care, but not less than the degree of care
      used by it in safeguarding its own confidential information; and (iv) not disclose any Confidential Information received


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 CONFIDENTIALITY AGREEMENT




 by it to any third parties (except as otherw ise provided for herein).

 (b)       flic Recipient agrees to use the Confidential Information solely in connection with the current or contemplated
 business relationship between the parties and not for any purpose other than as authorized by this Agreement without the
 prior written consent of an authorized representative of the Discloser. No other right or license, whether expressed or
 implied, in the Confidential Information is granted to the Recipient hereunder. Title to the Confidential Information will
 remain solely in the Discloser. All use of Confidential Information by the Recipient shall be for the benefit of the
 Discloser and any modifications and improvements thereof by the Recipient shall be the sole property of the Disc loser.


 3.         NO WARRANTY. All information is provided "AS IS" and without any warranty, whether express or implied,
 as to its accuracy or completeness.


 4.        DISCLOSURE BY LAW. If Recipient or its Representatives is requested or required by any law, courtor
 governmental order to disclose any Confidential Information, Recipient agrees to provide Disclosure with prompt written
 notice of each such request, to the extent practical, so that Discloser may seek an appropriate protective order or waive
 compliance by the Recipient with the provisions of this Agreement or both. If, absent the entry of a protective order or
 the receipt of a waiver under this Agreement, the Recipient or its Representatives is legally compelled or required to
 disclose such Confidential Information, Recipient may disclose such information to the persons and to the extent required
 without liability under this Agreement.

 5.       RETURN OF DOCUMENTS. Within ten (10) business days of receipt of the Discloser's written request, the
 Recipient will return to the Disc loser all documents, records and copies thereof containing Confidential Information. For
 purposes of this section, the term "documents" includes all information fixed in any tangible medium of expression, in
 whatever form or format.


6.          EQUITABLE RELIEF. The Recipient hereby acknowledges that unauthorized disclosure or use of Confidential
Information could cause irreparable harm and significant injury to the Discloser. Accordingly, the Recipient agrees that
the Discloser will have the right to seek and obtain immediate injunctive relief to enforce obligations under this
Agreement in addition to any other rights and remedies it may have.


7.        NOTICE OF BREACH. Recipient shall notify the Discloser immediately upon discovery of any unauthorized
use or disclosure of Confidential Information by Recipient or its Representatives, or any other breach of this Agreement
by Recipient or its Representatives, and will cooperate with efforts by the Discloser to help the Discloser regain
possession of Confidential Information and prevent its further unauthorized use.


8.        ENTIRE AGREEMENT AND GOVERNING LAW. This Agreement sets forth the entire agreement between
the parties with respect to the subject matter hereof and supersedes all prior discussions, representations and agreements
with respect to same. No modification to this Agreement shall be binding unless in writing and signed by both parties.
This Agreement shall be governed and construed in accordance w ith the laws applicable in the State of Arizona.


9.        EXECUTION. This agreement may be executed by facsimile or other electronic signature. In the event that any
signature is delivered by facsimile transmission or by email delivery of an electronic format data file (e.g., .pdf, .tiff,
etc.), such signature shall create a valid and binding obligation of the party executing with the same force and effect as if
such facsimile or electronic data file signature page were an original thereof.


RECIPIENT



By:
Name:                         r t-c****J4c /
Title:            AJ/C*.

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       /

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                         EXHIBIT 2
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                  EMPLOYEE NONDISCLOSURE & COMPUTER USE AGREEMENT


 This agreement (the "Agreement") is entered into by
 and its subsidiaries and affiliates ("Company") and _
 ("Employee").


 In consideration of the commencement of Employee's employment with Company and the compensation
 that will be paid, Employee and Company agree as follows:

 1.    Company's Confidential Information


 In the performance of Employee's job duties with Company, Employee will be exposed to Company's
 Confidential Information. "Confidential Information" shall mean all written or oral information of a
 proprietary, intellectual or similar nature relating to Company's business, projects, operations, activities
 or affairs whether of a technical or financial nature or otherwise. Confidential Information includes, but
 is not limited to:


 (a) technical information concerning Company's products and services, including product know-how,
 formulas, designs, devices, diagrams, software code, test results, processes, inventions, research
 projects and product development, technical memoranda and correspondence;

 (b) information concerning Company's business, including cost information, profits, sales information,
 accounting and unpublished financial information, business plans, markets and marketing methods,
 customer lists and customer information, purchasing techniques, supplier lists and supplier information
 and advertising strategies;


 (c)   information concerning Company's employees, including salaries, strengths, weaknesses and skills;

 (d) information submitted by Company's customers, suppliers, employees, consultants or co-venture
 partners with Company for study, evaluation or use; and

 (e) any other information not generally known to the public which, if misused or disclosed, could
 reasonably be expected to adversely affect Company's business.

 2.    Nondisclosure of Trade Secrets

 Company's Confidential Information are 'trade secrets' as defined in Arizona Revised Statutes, Sections
 44-401 et seq. Employee shall keep Company's Confidential Information, whether or not prepared or
 developed by Employee, in the strictest confidence. Employee will not disclose such information to
 anyone outside Company without Company's prior written consent. Nor will Employee make use of any
 Confidential Information for Employee's own purposes or the benefit of anyone other than Company.

 However, Employee shall have no obligation to treat as confidential any information which:

 (a) was in Employee's possession or known to Employee, without an obligation to keep it confidential,
 before such information was disclosed to Employee by Company;

 (b) is or becomes public knowledge through a source other than Employee and through no fault of
 Employee; or


 (c) is or becomes lawfully available to Employee from a source other than Company.

 3.    Confidential Information of Others

 Employee will not disclose to Company, use in Company's business, or cause Company to use, any
trade secret of others.

 4.    Return of Materials


When Employee's employment with Company ends, for whatever reason, Employee will promptly
deliver to Company all originals and copies of all documents, records, software programs, media and



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 other materials containing any Confidential Information. Employee will also return to Company all
 equipment, files, software programs and other personal property belonging to Company.

 5.   Confidentiality Obligation Survives Employment


 Employee's obligation to maintain the confidentiality and security of Confidential Information remains
 even after Employee's employment with Company ends and continues for so long as such Confidential
 Information remains a trade secret.

 6.   Computer Access and Use


 As part of Employee's duties, Employee will have access to Company's Electronic Communication
 Systems (ECS), which includes without limitation, its computers, network systems, Internet connection,
 Intranet, electronic mail, voicemail, facsimiles, telephones and other information systems used for the
 transmission of electronic communications. As a condition of employment, Employee agrees to the
 following restrictions on the access and use of Company's ESS:


 (a) Any access and use of ESS is strictly limited for purposes relating to Employee's duties and
 responsibilities as an employee, official business within Company and other activities approved in
 writing (including e-mail approval) by Company.

 (b) All information or messages that are created, sent, received or stored using Company's ESS remain
 the property of Company. Company has the absolute right to monitor and log all aspects of its ESS.
 Employee understands and agrees that electronic communications are neither private nor secure.

 (c) Employee is the sole person authorized to use the computer account(s) issued to him/her by
 Company, and Employee will not share his/her password(s) with anyone. If Employee suspects that
 someone else knows his/her password(s), Employee will notify his/her supervisor immediately.

(d) Employee will only access those computing resources that he/she has authorization from Company
to use and will only use such resource in carrying out his/her job duties.

(e) Employee is responsible for all computing activities that occur under his/her personal computer
account(s). If Employee suspects or knows that activities by any individual or entity are in violation of
this agreement, Employee agrees to immediately report it to his/her supervisor.

 (f) Prohibited actions using Company's ECS include, but are not limited to the following: (1) entering
data under another person's computer account or permitting another to enter data under his/her
account; (2) helping an unauthorized person gain access to a Company computer or information asset;
(3) accessing personal Internet email accounts (e.g., Hotmail, Yahoo, AOL, etc.); (4) sending or
displaying materials that are sexually explicit, threatening, discriminatory, harassing, illegal or
otherwise inappropriate; (5) using the system for illegal or criminal activities, commercial ventures,
private profit, religious or political causes, any form of solicitation (except those approved by
Company); (6)sending or receiving documents in violation of copyright laws; (7) transmitting
confidential patient, business or risk management information to any non-Company email address; (8)
attaching unauthorized devices to Company's computer network; and (9) attempting to gain access to
an unauthorized area of any computing system or disabling it in any way.

7.    General Provisions


(a) Affiliates and Subsidiaries. For purposes of sections 1, 2, 3, 4, and 5 of this Agreement, the
term "Company" shall include all affiliates and subsidiaries of Company, all directors,
shareholders, and officers of Company, and all directors, shareholders and officers of Company's
affiliates and subsidiaries.

(b) Relationships: Nothing contained in this Agreement shall be deemed to make Employee a partner
or joint venturer of Company for any purpose.




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 (c) Severability: If a court finds any provision of this Agreement invalid or unenforceable, the
 remainder of this Agreement shall be interpreted so as best to effect the intent of Company and
 Employee.


 (d)   Integration: This Agreement expresses the complete understanding of the parties with respect to
 the subject matter and supersedes all prior proposals, agreements, representations and
 understandings. This Agreement may not be amended except in a writing signed by both Company and
 Employee.


 (e)   Waiver: The failure to exercise any right provided in this Agreement shall not be a waiver of prior or
 subsequent rights.


 (f)   Injunctive Relief: Any misappropriation of any of the Confidential Information in violation of this
 Agreement may cause Company irreparable harm, the amount of which may be difficult to ascertain,
 and therefore Employee agrees that Company shall have the right to apply to a court of competent
 jurisdiction for an order enjoining any such further misappropriation and for such other relief as
 Company deems appropriate. This right is to be in addition to the remedies otherwise available to
 Company.


 (g)    Indemnity: Employee agrees to indemnify Company against any and all losses, damages, claims or
 expenses incurred or suffered by Company as a result of Employee's breach of this Agreement.

 (h) Attorney Fees and Expenses: In a dispute arising out of or related to this Agreement, the prevailing
 party shall have the right to collect from the other party its reasonable attorney fees and costs and
 necessary expenditures.


 (i)   Governing Law. This Agreement shall be governed in accordance with the laws of the State of
 Arizona.


 (j) Jurisdiction. Employee consents to the exclusive jurisdiction and venue of the federal and state
 courts located in Maricopa County, Arizona in any action arising out of or relating to this Agreement.
 Employee waives any other venue to which Employee might be entitled by domicile or otherwise.

 (k) Successors & Assigns. This Agreement shall bind each party's heirs, successors and assigns.
 Company may assign this Agreement to any party at any time. Employee shall not assign any of his or
 her rights or obligations under this Agreement without Company's prior written consent. Any
 assignment or transfer in violation of this section shall be void.


 8.    Signatures

 Employee has carefully read all of this Agreement and agrees that all of the restrictions set forth are fair
 and reasonably required to protect Company's interests. Employee has received a copy of this
 Agreement as signed by Employee.

 Employee:



                                                              (Signature)


                rc             (Typed or Printed Name)


 Date:                          sr




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